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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                _______________________

   BRITTANY E. MARTIN,

                           Plaintiff,               Case No.: 1:24-cv-72
   v.                                               HON. Hala Y. Jarbou

   HENN LESPERANCE PLC., et al.,                    ORAL ARGUMENT REQUESTED

                           Defendants.

   Brittany E. Martin                               Lee T. Silver (P36905)
   Plaintiff, in Pro Se                             Michael L. Gutierrez (P79440)
   23 College Ave. SE, Apt 18                       Brett J. Miller (P68612)
   Grand Rapids, MI 49503                           Attorneys for Defendants Henn Lesperance
   (616) 822-9423                                   PLC, Kevin Lesperance, Malgorzata
   bmartin0211@outlook.com                          (“Gosia”) Walker, and Roy H, Johnson
                                                    300 Ottawa Ave. NW, Suite 620
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             PLAINTIFF’S MOTION FOR RECUSAL OR DISQUALIFICATION OF
                        MAGISTRATE JUDGE SALLY J. BERENS

         Brittany E. Martin, Plaintiff, hereby moves under 28 U.S.C. § 455(a) and (b) for an order

recusing and/or disqualifying Magistrate Judge Sally J. Berens from any further participation in

this case.

         Ms. Martin asserts that Magistrate Judge Sally J. Berens has a self-enforcing duty to recuse

herself from any further participation in this case under 28 U.S.C. § 455 due to direct conflicts of

interest and because recusal is required to avoid even the appearance of bias. Alternatively, should

Magistrate Judge Berens decline to recuse herself Ms. Martin requests that this motion be referred


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to another judge for a hearing on the merits and for an order disqualifying Magistrate Judge Sally

J. Berens from any further participation in this case.

        A proposed order is attached as EXHIBIT A.

        Ms. Martin relies on her accompanying Brief in Support of her Motion and states the

following:

        Ms. Martin reluctantly files this motion acutely aware of the gravity of calling a judge’s

impartiality into question. However, compelling and objective reasons necessitate this motion and

the relief sought to ensure the integrity of these proceedings and maintain public confidence in the

judiciary.

        1. Magistrate Berens is a “director” of Defendants Thomas C. Walker and
           Malgorzata (“Gosia”) Walker which constitutes a direct conflict of interest
           mandating recusal under 28 U.S.C. § 455(b)(5)(i).

        Magistrate Judge Sally J. Berens serves as a Director and as the Membership Committee

Chairperson at Grand Rapids Yacht Club where Defendant Thomas C. Walker is a voting member

and shareholder, and where under the club’s bylaws, Thomas C. Walker’s family members enjoy

the same rights and privileges. This relationship constitutes a direct conflict of interest under 28

U.S.C. § 455(b)(5)(i), which mandates recusal when a judge or magistrate is “an officer, director,

or trustee of a party.”

        2. Even if recusal were not mandatory as a matter of law under Section 455(b), the
           facts of this case warrant recusal under Section 455(a).

        As further detailed in this motion’s accompanying brief, Magistrate Berens’ personal and

professional relationships with key parties and material witnesses involved in this lawsuit create a

probability of actual bias is too high to be constitutionally tolerable or at least an appearance of

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bias such that a reasonable, objective person, with knowledge of all of the facts, would question

her impartiality in presiding over this matter.

       WHEREFORE, Plaintiff Brittany E. Martin respectfully requests that:

       1. Magistrate Judge Sally J. Berens enter an order recusing herself from any further

           participation in this case, or

       2. Alternatively, that this motion be referred to another judge for a hearing on the merits,

           and for an order disqualifying Magistrate Judge Sally J. Berens from any further

           participation in this case, and

       3. Any other relief this Honorable Court deems just and proper.

                                                     Respectfully submitted,


                                                     Brittany E. Martin
                                                     Plaintiff in Pro Se



 Dated: May 28, 2024                          By: /s/ Brittany E. Martin
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                                                  Grand Rapids, MI 49503
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                               SALLY J. BERENS - 3
